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                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE SOUTHERN DISTRICT OF OHIO
                                   EASTERN DIVISION

 In re FIRSTENERGY CORP. SECURITIES                   :
 LITIGATION,                                          : No. 2:20-cv-03785-ALM-KAJ
                                                      :
                                                      : Chief Judge Algenon L. Marbley
                                                      :
 This Document Relates To:                            : Magistrate Judge Kimberly A. Jolson
                                                      :
                        ALL ACTIONS.                  :
                                                      :

     MOTION OF NON-PARTIES SAMUEL C. RANDAZZO AND SUSTAINABILITY
      FUNDING ALLIANCE OF OHIO, INC. FOR A PARTIAL STAY OF SPECIAL
            MASTER’S ORDER PENDING RULING ON OBJECTIONS

        Non-parties Samuel C. Randazzo (“Randazzo”) and Sustainability Funding Alliance of

 Ohio, Inc. (“SFAO”) (collectively referred to hereinafter as “Respondents”) move the Court for a

 partial stay of the November 6, 2023 Order By Special Master On Motion To Compel (Doc. 554)

 (“Order”). The Respondents will be filing timely objections to the Order within 21 days of the

 service of the Order (i.e., on or before November 27, 2023) in accordance with Fed.R.Civ.P. 53(f)

 and this Court’s Order Appointing Special Master (Doc. 541).

        The Order requires the Respondents to: (1) search for and produce certain documents from

 November 21, 2020 to August 31, 2021; (2) produce documents and corresponding privilege logs

 on a rolling basis; (3) collect the Respondents’ 2019 emails from their cloud-based sources; and

 (4) pay the Plaintiffs’ fees and expenses and the Special Master’s costs related to the dispute. The

 Respondents seek a stay of items (1), (2), and (4) above pending the Court’s consideration and

 resolution of their objections.

        This Motion to Stay is made now because last Friday (Nov. 17), counsel for the

 Respondents were told that Plaintiffs claim that “any orders of the Special Master go into effect
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 [upon being entered], [and] they need to either be stayed by [the Special Master], Magistrate Judge

 Jolson or Chief Judge Marbley” if a party intends to delay compliance. ECF 556 at PageID 12187.

 This statement was made by the Special Master at a hearing unrelated to the present dispute and

 at which these Respondents were not present. And last night, at 8:03 pm (eastern), Plaintiffs

 advised the Special Master by email that they “have informed SFAO and Randazzo’s counsel that

 at the November 28, 2023, status conference they intend to object to SFAO and Randazzo’s

 position that they need not seek a stay to avoid compliance with the Court’s order.”

        The Respondents disagree with Plaintiffs’ claim regarding the effectiveness of the Order.

 The Order has not been adopted by the Court, nor have 21 days elapsed without objection since

 service of the order on November 6, 2023, as required by Federal Rule of Civil Procedure 53 and

 this Court’s September 12, 2023 order. (See Doc. 541). Until either of those events occur, the Order

 is not effective. But the Respondents recognize the uncertainty on this issue, and therefore seek a

 stay out of an abundance of caution.

        The stay requested here will preserve the status quo while the Court considers the

 Respondents’ objections. Neither the Plaintiffs, nor other parties (to Respondents’ knowledge) will

 suffer harm or prejudice while the Court considers and rules upon the objections. Staying the

 payment of fees and costs, item (4) of the Order, clearly causes no harm or prejudice to any party.

        And similarly, as to items (1) and (2), the Plaintiffs will suffer no harm or prejudice if the

 stay is issued. Plaintiffs have this week issued Deposition Subpoenas to the Respondents during

 March of 2024. The deposition of SFAO has been scheduled for March 4, 2024-March 5, 2024,

 and the deposition of Mr. Randazzo will occur during the “target period” of March 8, 2024-March

 29, 2024. As for any documents that may exist and be required to be produced in response to items

 (1) and (2), the Plaintiffs believe they are negligible in number (and almost certainly privileged).




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 Any responsive documents from the extended period of November 21, 2020 to August 31, 2021

 were created nearly two years (or later) after the $4.3 million payment made in January 2019 by

 FirstEnergy Service Corporation to SFAO to terminate the consulting agreement between those

 parties.

            The Respondents estimate the cost of compliance with the Order could exceed $75,000.00,

 to pay for further forensic searching for and imaging of documents (which may or may not even

 exist), created between November 20, 2020 and August 31, 2021, and which may or may not reside

 on the Respondents’ electronic devices, and to pay Plaintiffs’ fees and the Special Master’s costs.

 Under these circumstances, the stay will avoid imposing undue burden and expense upon the

 Respondents while their objections are being considered by the Court. Absent a stay, requiring

 these non-parties to search at their significant cost and expense imposes a burden that turns the

 protections afforded by Rules 45 and 26 on their head. Accordingly, the Respondents request that

 the Court grant this Motion to Stay the Order.

                                                Respectfully submitted,


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      MEMORANDUM IN SUPPORT OF RESPONDENTS’ MOTION TO STAY THE
             SPECIAL MASTER’S ORDER OF NOVEMBER 6, 2023

           The text of Rule 53, as well as the Court’s September 12, 2023 Order Appointing Special

 Master, is arguably unclear on whether a special master’s order is effective prior to its adoption by

 the Court. 1 This Court’s order of appointment states that an Order of the Special Master is not

 effective until either (1) affirmed and adopted by the Court or (2) no objection is filed within 21

 days after issuance of the order. (See Doc. 541, Order at 6, PageID # 11687) (“Absent timely

 objection, the orders, reports or recommendations of the Special Master shall be deemed approved,

 accepted, and ordered by the Court, unless the Court explicitly provides otherwise.”) (emphasis

 added).

           Here, the Order has not been adopted by the Court and 21 days have not elapsed after the

 service of the Order. Accordingly, under Rule 53 and this Court’s Order Appointing Special

 Master, the Order is not yet effective. But because Plaintiffs claim that the Order is effective absent

 a stay, the Respondents are compelled to file this motion.

           Without a stay pending the consideration of the objections to the Order, the Respondents

 will suffer the very harm they are asking this Court to reverse by objecting to the Order. That harm

 includes the ordering of respondents to incur the payment of additional significant expenses to a

 third-party vendor for further forensic imaging of Mr. Randazzo’s electronic devices and to absorb

 the costs of review of any responsive documents by Respondents’ counsel. These are fees, costs,

 and expenses that these non-party Respondents do not have and which they will ask the Court to




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   The Court’s Local Rules make clear that a Magistrate’s ruling on a non-dispositive motion
 “remains in full force and effect unless and until it is (1) stayed by the Magistrate Judge or a District
 Judge, or (2) overruled by a District Judge.” Local Rule 72.3. The Federal Rules of Civil
 Procedure, the Local Rules, and the Court’s Order Appointing Special Master don’t appear to
 contain a similar statement regarding orders from a Special Master.
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 relieve them of by sustaining their objections to the Order. The harm also includes the imposition

 of attorney fees and costs incurred by the Plaintiffs and those of the Special Master, which have

 yet to be invoiced.

        As the public records reflect (and as Respondents will discuss in their forthcoming

 objections), the Respondents’ resources have been hamstrung by the actions of the Ohio Attorney

 General in an action pending in the Franklin County Court of Common Pleas. (State of Ohio ex

 rel. Yost v. FirstEnergy Corp., et al., Case No 20-CV-6281). In that case, the court has issued orders

 that purport to attach, garnish, and/or encumber substantially all the Respondents’ assets. The

 contents of SFAO’s checking account have been paid into the Common Pleas Court and have been

 under the control of the Clerk of Courts for more than two years. The real estate owned by SFAO

 and Mr. Randazzo has effectively been encumbered. The IOLTA account of the undersigned (into

 which a retainer was paid by Mr. Randazzo and SFAO) has been frozen and unavailable for nearly

 two years.

        The Plaintiffs (and others), in suggesting the Respondents aren’t struggling financially,

 have pointed to the receipt of monies (millions of dollars) by SFAO over the nearly 10-year term

 of the consulting agreement with FirstEnergy Services Corporation. But those efforts are

 misguided, misinformed, and inaccurate given the state court litigation initiated by the Attorney

 General. Moreover, it is the Respondents’ current financial circumstances, not those that may once

 upon a time have been true, that are pertinent here. Lest the Court or Plaintiffs think or argue that

 monies being spent by Respondents on attorney fees should instead be spent on searching for and

 reviewing ESI, the undersigned has not charged or billed Respondents (and will not be paid) for

 his services relating to this ongoing dispute during the months of August, September, October and

 November, recognizing the current (not the past) financial realities faced by Respondents.




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         Despite these circumstances, the Respondents have made, and will continue to make,

 efforts to comply with the Order. The Respondents’ vendor (TCDI) has collected the Respondents’

 emails directly from Yahoo, Google, and Microsoft to analyze whether those sources contain any

 2019 emails that weren’t collected when Mr. Randazzo’s electronic devices were imaged back in

 2021. If there are any such emails, the Respondents will apply the Plaintiffs’ 13 search terms,

 review the hits, and produce any responsive, relevant, non-privileged emails to the Plaintiffs.

         The Order, however, requires much more of the Respondents, and what it requires poses a

 significant expense to the Respondents: to re-image the Mr. Randazzo’s electronic devices. The

 total estimate of what the Order requires the Respondents to pay is approximately $75,000.00—

 costs and expenses Rules 26 and 45 of the Federal Rules of Procedure do not impose upon or

 require non-parties to bear.

         Nor should the Respondents be required to pay the Plaintiffs’ attorneys’ fees or those of the

 Special Master prior to the resolution of their objections. Neither Rule 45 nor this Court’s order of

 appointment give the Special Master the authority or power to impose these fees and costs in these

 circumstances. The Plaintiffs’ counsel has represented to counsel for the Respondents that they

 will be seeking to recover roughly $50,000 in fees and costs from the Respondents for those items

 listed in the Order.

         The requested stay should not prejudice other discovery in this case. The depositions of the

 Respondents are not scheduled to occur for nearly four (4) months from now. The Respondents

 believe that depositions have been ongoing and will continue regardless of the outcome of this

 dispute. The Respondents are already moving forward regarding item (3) of the Special Master’s

 Order. Further, no deponent can credibly claim to need to await the production of the Respondents’

 discoverable records (if any) from after November 20, 2020. The Respondents have repeatedly




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 explained their belief that any responsive documents will almost certainly be privileged. In the

 unlikely event that Mr. Randazzo sent a relevant, discoverable, non-privileged communication

 after November 2020, the parties presumably already have that communication as a result of the

 millions of pages of the documents that have already been produced by parties and non-parties in

 this litigation.

         Requiring Respondents to incur these fees and costs before the Court has had the

 opportunity to consider and rule upon their objections will cause harm to the Respondents, while

 neither the Plaintiffs nor other parties will be prejudiced by the issuance of the requested stay. For

 all the foregoing reasons, the Court should grant the stay as requested herein.



                                                Respectfully submitted,


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                                CERTIFICATE OF SERVICE

        I hereby certify that on the 21st day of November 2023, a true and correct copy of the
 foregoing was electronically filed with the Clerk of this Court using the CM/ECF system, thereby
 automatically serving all counsel of record.

                                             /s/ Roger P. Sugarman
                                             Roger P. Sugarman




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